  Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 1 of 14 PageID #:1309




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JUAN HERNANDEZ and ROSENDO                       )
HERNANDEZ,                                       )
                                                 )          No. 1:23-cv-1737
             Plaintiffs,                         )
                                                 )          Hon. Jeremy C. Daniel
             v.                                  )
                                                 )          Magistrate Heather K. McShain
REYNALDO GUEVARA, et al.,                        )
                                                 )
             Defendants.                         )          JURY TRIAL DEMANDED


                PLAINTIFFS’ MOTION TO COMPEL DEFENDANT
          CITY OF CHICAGO TO PRODUCE AGREED-UPON DOCUMENTS

       Plaintiffs Juan Hernandez and Rosendo Hernandez, by their attorneys, Loevy & Loevy,

respectfully move this Court pursuant to Rule 37 of the Federal Rules of Civil Procedure for an

order compelling Defendant City of Chicago to produce documents in response to Plaintiffs’

First and Second Sets of Requests for Production. In support, Plaintiffs state as follows:

                                       INTRODUCTION

       Plaintiffs Juan Hernandez and Rosendo Hernandez bring this Section 1983 action against

the City of Chicago, notorious Defendants Reynaldo Guevara and Joseph Miedzianowski, and

other police officer defendants who caused them to be wrongfully imprisoned for a collective 50

years for the tragic murder of Jorge Gonzalez. Dkt. 58, Am. Compl. at ¶¶ 1-18. Plaintiffs are just

two of a long line of men who suffered the same fate and who have since been exonerated after

new evidence surfaced that Defendant Guevara and others from Area Five of the Chicago Police

Department framed them for crimes they did not commit. Id. at ¶¶ 5-13, 134-165. Plaintiffs

allege that Defendants manipulated and coerced false eyewitness identifications (id. at ¶¶ 38-58),

suppressed exculpatory evidence (id. at ¶¶ 88-103), fabricated evidence undermining Plaintiffs’
  Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 2 of 14 PageID #:1310




alibis (id. at 88-94, 95-103), and intentionally fabricated an “anonymous” tip inculpating

Plaintiffs (id. at ¶¶ 45-49). For their parts, Defendant Guevara has consistently taken the Fifth

when questioned about his activities as a Chicago police officer in the face of numerous

incidents of his misconduct (id. at ¶¶ 14, 162), and Defendant Miedzianowski is currently

serving a life-time prison sentence for racketeering and operating a drug ring as part of his

employment with the Chicago Police Department (“CPD”) (id. at ¶¶ 59-79).

           In this motion, Plaintiffs ask the Court to compel the City of Chicago to produce the

following critical materials, or confirm that there are no responsive materials, in response to

Plaintiffs’ July 20, 2023 First Set of Requests to Produce (Exhibit A) and August 3, 2023 Second

Set of Requests to Produce (Exhibit B). The parties met and conferred on outstanding documents

not produced by the City and agreed that Defendant City would investigate and produce:

      I.      Documents relating to any party, witness, witness statement, or witness arrest
              records—including IR jackets—for Plaintiffs, certain key witnesses, the individuals
              in the photo arrays, and the fillers in the line-ups (First Request Nos. 15-22). See
              Exhibit C (July 8, 2024 Meet and Confer Memorialization Supplement).

     II.      Documents relating to any investigations of misconduct by Defendant Officers during
              their employment with CPD; their employment records; and/or any criminal
              investigation, arrest, or prosecution of any Defendant Officer (First Request Nos. 10,
              26, 27).

    III.      Documents, such as indexes, sufficient to identity the title or general subject matter of
              each of the City of Chicago and/or CPD’s written policies applicable to any of the
              Defendant Officers at any time during the Gonzalez murder investigation (First
              Request No. 41).

    IV.       Other documents relating to the Gonzalez murder investigation—including
              emergency transmissions, physical evidence, identification procedure documents (i.e.,
              gang books), maps of relevant CPD facilities, Daily Major Incident Logs, not-yet
              produced lineup photos, not-yet produced communications with witnesses, gang
              nickname database documents, telephone control logs, crime lab documentation, and
              investigative alerts (First Request Nos. 4, 7- 9, 11-13, 25).

     V.       Documents relating to the criminal prosecution of Defendant Miedzianowski; any
              investigations by CPD, or any agency of the City of Chicago, into allegations of

                                                    2
  Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 3 of 14 PageID #:1311




             criminal conduct by Defendant Miedzianowski or any other officers who participated
             in his criminal enterprise; and/or any complaint by former CPD Superintendent Phil
             Cline regarding Defendant Miedzianowski (Second Request Nos. 1-2, 4-5).

    VI.      Communications between Defendant Miedzianowski and Raymond Risley (Second
             Request No. 3).

   VII.      All documents produced or exchanged by the parties in Klipfel, et al. v. Bentsen, et
             al., 1:94-cv-06415 (N.D. Ill.), including pleadings, discovery, and deposition
             transcripts (Second Request Nos. 6-7).

See generally Exhibit D (July 8, 2024 Meet and Confer Memorialization).

          Plaintiffs have been seeking responsive documents for 14 months and cannot afford to

allow Defendant City continued latitude to produce materials and respond on its own unspecified

timeline. Non-Monell fact discovery is currently set to close on October 31, 2024. Not only has

Defendant City’s delay prejudiced Plaintiffs’ ability to conduct follow-up discovery, but it has

also impeded Plaintiffs’ ability to proceed with the remaining depositions in this case. Certain

depositions that have already occurred may also need to be reopened due to new information

coming to light as part of the outstanding production. As such, Plaintiffs move this Court to

compel the City to provide timely responses as described herein.

                                  FACTUAL BACKGROUND

          The City’s document production in this case has been characterized by unwarranted

delay. The City produced only 220 pages of documents with its initial disclosures. By

comparison, Plaintiffs produced more than 22,000 pages, commensurate with its discovery

obligations in a case concerning decades of criminal, post-conviction, and civil proceedings and

addressing serious constitutional violations. Plaintiffs issued their First Set of Requests for

Production (“First RFP”) on July 20, 2023. Defendant City responded on September 27, 2023

and did not produce any new documents. See Exhibit A; Exhibit E (Defendant City’s Response

to Plaintiffs’ First RFP). Plaintiffs then issued their Second Set of Requests for Production

                                                3
  Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 4 of 14 PageID #:1312




concerning Defendant Miedzianowski (“Second RFP”) on August 3, 2023 to which the City

responded on November 13, 2023. See Exhibit B; Exhibit F (Defendant City’s Response to

Plaintiffs’ Second RFP).

       It does not appear that the City conducted any investigation into the vast majority of

Plaintiffs’ requests; the City produced no additional documents in response to any of Plaintiffs’

48 requests in their First RFP and produced 359 pages in response to two of Plaintiffs’ seven

requests from their Second RFP, and simply stated “investigation continues” 50 separate times in

response to Plaintiffs’ requests. See, e.g., Ex. E; Ex. F. Nor did the City specify the timeline for

conclusion of its “investigation” as required by Rule 34(b)(2)(B) (“The production must then be

completed no later than the time for inspection specified in the request or another reasonable

time specified in the response.”). Id.

       Shortly after receiving Defendants’ discovery responses, this case—along with several

other cases being litigated by the same counsel as here concerning misconduct by Defendant

Guevara—stalled due to disagreements about witness priority and who should get to question

certain key witnesses first. Dkts. 83-95. This Court ruled on that issue, and the parties again

proceeded with document discovery. Dkt. 98. After not receiving any supplemental production

or update as to the City’s investigations into Plaintiffs’ First and Second Requests for

Production, Plaintiffs sent a Rule 37 letter on May 7, 2024 outlining the many deficiencies in the

City’s barebones responses. Plaintiffs’ correspondence was detailed and intended to facilitate a

substantive meet and confer. See Exhibit G (Plaintiffs’ Rule 37 Correspondence).

       In their letter, Plaintiffs requested that the City produce the outstanding documents or

schedule a meet and confer by May 20, 2024. Id. That date came and went with no response

from Defendant City. Plaintiffs followed up on May 30, 2024 proposing dates to meet and confer



                                                 4
  Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 5 of 14 PageID #:1313




or asking for the City to supplement. See Exhibit H (Group Email Correspondence) at 15-16. The

City responded that it was working on responding to Plaintiffs’ letter and that it will “provide a

response shortly.” Id. at 15. A week later, Plaintiffs again emailed Defendant City stating that

Plaintiffs cannot “continue to wait for Defendant City to produce what it wants on its own

established timeline or rely on assurances that things will be provided ‘shortly’”—a common

issue between the parties across the Guevara cases. Id. at 14-15. Plaintiffs also noted that the

City had committed to producing certain documents once a confidentiality protective order was

entered in the case. A confidentiality protective order was entered in this case on April 26, 2024,

Dkt. 110, but the City made no such supplemental production. Plaintiffs thus requested the City

send its response to their letter by June 10, 2024. Ex. H at 14. The City stated it could not have

its response by June 10, 2024 and instead offered June 17, 2024. Id. at 13. June 17, 2024 came

and went with no correspondence or production from the City.

       Plaintiffs then followed up again on June 18, 2024 asking for a date to meet and confer

on the outstanding documents. Id. at 12-13. The City responded three days later and said it would

aim to have a response to Plaintiffs by June 24, 2024 and that it was available to meet and confer

June 27 or 28. The parties thus confirmed a meet and confer scheduled for June 28, 2024. Id. at

9-12. On June 26, 2024, the City made a supplemental production of 2,602 pages. Id. at 9-10.

Plaintiffs reviewed those documents to identify which outstanding requests were now satisfied

and the numerous requests still unanswered that the parties would discuss during the upcoming

meet and confer. However, the morning of the meet and confer, counsel for Defendant City

stated they were no longer available for the scheduled time and would be rescheduling. Id. at 8.

       The parties were finally able to conduct a lengthy meet and confer on July 8, 2024—62

days after Plaintiffs sent their Rule 37 correspondence. Id. at 5-7. The parties reached agreement



                                                5
    Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 6 of 14 PageID #:1314




on what documents the City would provide, and Plaintiffs sent a memorialization letter outlining

the agreement.1 Ex. C; Ex. D; Ex. H at 3. During the meet and confer, the City committed to

having a supplemental production made the week of July 15, 2024. No such production was

made. Plaintiffs’ counsel was on trial at the end of July into early August and, immediately after,

followed up on the missing documents. Plaintiffs requested that the City produce the outstanding

documents by August 23, 2024 or Plaintiffs would seek Court intervention as the ongoing delay

was increasingly prejudicing their case. Ex. H at 2. The City responded saying it was now

reviewing Plaintiffs’ memorialization letter, sent one month previous, and would “provide an

update on [] progress next week.” Id. Plaintiffs responded stating that the City’s undue delay—a

recurrent issue that the same parties discussed as it pertains to a different case (Eruby Abrego v.

Guevara, et al., Case No. 23-cv-1740) the day before—has been going on for too long and that

“13 months after these discovery requests were propounded, nearly 4 months after Plaintiffs sent

their Rule 37 letter, and 7 weeks after we had our meet and confer on these documents, Plaintiffs

have yet to receive any supplemental production from the City.” Id. at 1. Plaintiffs notified

Defendant City on August 23, 2024 that if it was not able to identify a date certain by which it

will produce all of the agreed-upon materials, or, alternatively, to confirm that no responsive

materials exist following a diligent investigation, by August 30, 2024, Plaintiffs would be

seeking Court intervention. Id. As of the date of filing, the City has not responded and no such

supplemental production has been made.

        Defendant City’s tactical delay has unfairly prejudiced Plaintiffs. Defendant Bemis has

already been deposed. Defendant Guevara’s deposition is scheduled for Monday, September 9,


1
  The parties agreed to defer conferral on certain buckets of documents because of the phased discovery schedule in
this case and the overarching conversations on electronically stored information happening between the parties
across the Guevara cases. There are also interrogatory responses that the City committed to updating pursuant to the
outstanding documents being produced in this case. See Ex. D at 16-17.

                                                         6
  Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 7 of 14 PageID #:1315




2024. Defendant Miedzianowski’s deposition—originally scheduled for August 8, 2024 before

being rescheduled by his counsel—is forthcoming. Plaintiffs’ depositions are now being

scheduled for dates next month. Plaintiffs cannot afford to wait indefinitely pursuant to the

City’s unspecified timeline to receive basic documents. Plaintiffs have now requested the City

supplement its production numerous times and no supplemental production has been made. This

Court should therefore compel production of the requested materials and order the City to

comply with its discovery obligations.

                                     LEGAL STANDARD

       Federal discovery rules are liberal to assist in preparation for trial and aid the search for

truth. See Bond v. Utreras, 585 F.3d 1061, 1075 (7th Cir. 2009); Kodish v. Oakbrook Terrace

Fire Prot. Dist., 235 F.R.D. 447, 450 (N.D. Ill. 2006). A party responding to a Rule 34 request

must “state whether any responsive materials are being withheld on the basis of that objection”

and “[a]n objection to part of a request must specify the part and permit inspection of the rest.”

Fed. R. Civ. P. 34(b)(2)(C). “The production must then be completed no later than the time for

inspection specified in the request or another reasonable time specified in the response.” Fed. R.

Civ. P. 34(b)(2)(B). “The burden rests upon the objecting party to show why a particular

discovery request is improper.” Parvati Corp v. City of Oak Forest, 2010 WL 2836739, at *1

(N.D. Ill. July 19, 2010) (quoting Kodish, 235 F.R.D. at 450).

       A party may seek an order to compel discovery if an opposing party fails to respond to

discovery requests or has provided evasive or incomplete responses. Fed. R. Civ. P. 37(a)(1)-(4).

If the court grants the motion, then the non-complying party or its attorney or both must pay the

moving party’s reasonable expenses, including attorneys’ fees, unless the non-complying party’s

position was substantially justified, or an award of expenses would be unjust. Fed. R. Civ. P.



                                                 7
  Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 8 of 14 PageID #:1316




37(a)(5); see also DR Distributors, LLC v. 21 Century Smoking, Inc., 513 F. Supp. 3d 839, 965

(N.D. Ill. 2021) (levying sanctions against party when it failed to conduct a proper investigation

for responsive documents or produce such documents under Rule 37(a)). In ruling on a discovery

motion, courts consider “the totality of the circumstances, weighing the value of material sought

against the burden of providing it, and taking into account society’s interest in furthering the

truth-seeking function in the particular case before the court.” Patterson v. Avery Dennison

Corp., 281 F.3d 676, 681 (7th Cir. 2002) (internal quotation omitted).

                                          DISCUSSION

       Defendant City has provided egregiously deficient responses as contemplated by Fed. R.

Civ. P. 37(a)(1)-(5). After meeting and conferring on the outstanding documents, the City agreed

to produce:

   •   Transcripts, recordings, or any emergency transmissions relating to the Gonzalez
       murder investigation (First Request No. 4). The City committed to investigating
       whether it is in possession of responsive documents, when OEMC began recording 911
       phone calls, and committed to producing the appropriate retention schedule for such
       emergency transmissions. See Ex. D at 1. The City has not produced anything or apprised
       Plaintiffs of any such investigation.

   •   All physical evidence, and documents that constitute records of physical evidence,
       related to the Gonzalez murder investigation (First Request No. 8-9). The City stated
       that it has additional documents relating to physical evidence at ERPS. The City also
       represented that it turned over all physical evidence identified within the investigative file
       to the Cook County State’s Attorney’s Office around the time of the criminal trial and
       that it would produce documentation to that effect. See Ex. D at 2-3. Nothing has been
       thus produced.

   •   Documents regarding investigations of misconduct committed during the homicide
       investigation and criminal prosecution of Plaintiffs and all Documents related to any
       complaint alleging official misconduct on the part of any Defendant Officer during
       their employment with the Chicago Police Department (First Request Nos. 10, 26).
       Prior to the July 8 meet and confer, the City produced some CRs in response to this
       request. At the meet and confer, the City stated that it had further responsive documents
       and would produce them early in the week of July 15. The City also agreed to produce
       the non-privileged documents underlying the Sidley Austin investigation into the
       corruption of Defendant Guevara as well as the privilege log. The City represented that it

                                                 8
Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 9 of 14 PageID #:1317




    would follow up to confirm what procedure was in place in 1997 for cataloguing lawsuits
    against officers. Lastly, the City committed to confirming whether all the responsive
    documents were produced. See Ex. D at 3, 7. No such production has been made, and the
    City provided no update on its investigation.

•   Documents relating to any identification procedure conducted in connection with
    the Gonzalez murder investigation, including gang books (First Request No. 11). The
    City committed to investigating whether the gang books from 1994-1999 still exist and
    producing them if so. If not, the City committed to producing the appropriate retention
    schedule. See Ex. D at 3. No such production has been made.

•   Maps or any other visual depictions of all CPD facilities in which Plaintiffs or any
    witnesses/suspects were detained, held, interrogated, or questioned in connection
    with the Gonzalez murder investigation (First Request No. 12). The City stated it was
    searching for a map of Area 5 in 1997 and will produce it. See Ex. D at 3. No such
    production has been made.

•   Area 5 Detective Division Daily Major Incident Logs from May 27, 1997 to July 15,
    1997 (First Request No. 13). The City stated that it would produce the appropriate
    retention schedule for Area 5 Detective Division Daily Major Incident Logs. See Ex. D at
    3-4. No retention schedule has been thus produced.

•   Plaintiffs’ arrest records (First Request Nos. 15-16). The City committed to
    investigating whether it is in possession of any as-yet unproduced arrest records for
    Plaintiffs and stated it would produce them. See Ex. D at 4. No production or
    confirmation that there are no further responsive documents has been made.

•   Documents related to witnesses and witness statements, including witness arrest
    records and IR jackets (First Request Nos. 17-22). The City agreed to conduct a search
    for the requested information for parties and witnesses identified by and produce any
    responsive documentation. See Ex. D at 4-5; Ex. C. No such production has been made.

•   Location, movement, assignment, and contact made by each Defendant Officer
    during the Gonzalez murder investigation (First Request No. 25). The City agreed to
    produce the appropriate retention schedule for 1997. See Ex. D at 6-7. No such
    production has been made.

•   All documents relating to the employment of Defendant Officers (First Request No.
    27). The City agreed to confirm whether all of the personnel files were produced and, for
    those that have not been, to check whether they still exist. See Ex. D at 7-8. The City has
    not produced the retention schedule or apprised Plaintiffs of their investigation.

•   Documents, such as indexes, sufficient to identity the title or general subject matter
    of each of the City of Chicago and/or Chicago Police Department’s written policies
    applicable to any of the Defendant Officers at any time during the Gonzalez murder


                                             9
Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 10 of 14 PageID #:1318




     investigation (First Request No. 41). The City agreed to produce policy indexes for
     1997. Ex. D at 10-11. No such production has been made.

 •   As-yet-unproduced documents, including (1) any not-yet produced documentation
     of requesting photographs for an array or lineup; (2) any not-yet produced
     documentation of communications between Defendants and any of the six witnesses
     (Marybel Arroyo, Nancy Gonzalez, Jose Gonzalez, Jesus Gonzalez, Juan Carlos
     Cruz, and Daniel Violante); (3) pages 1-4 of the gang nickname database (RFC
     Hernandez 103) (4) any telephone control logs from 1994 to 1999 (and any
     corresponding retention schedule); (5) any documentation from the crime lab
     related to this case; and (6) any investigative alert that was made during the course
     of this investigation (First Request No. 7). The City agreed to investigate these
     categories of documents and produce any responsive documents. See Ex. D at 2. No such
     production has been made, nor has the City confirmed that, following a diligent
     investigation, no responsive documentation exists.

 •   Documents relating to the criminal prosecution of Defendant Joseph
     Miedzianowski, including any documents related to that prosecution provided to the
     City of Chicago or any of its agencies (Second Request No. 1). The City stated that it is
     still investigating whether it has responsive documents to this request. Due to how long
     discovery has been ongoing, and Defendant Miedzianowski’s upcoming deposition,
     Plaintiffs asked the City to produce all responsive documents by July 19, 2024. See Ex. D
     at 13-14. To date, no supplemental production has been made nor has the City confirmed
     that, following a diligent investigation, no responsive documentation exists.

 •   Documents related to any investigation by CPD, or any agency or department of the
     City of Chicago, into allegations of criminal conduct by Defendant Miedzianowski
     (Second Request No. 2). The City stated that it is still investigating whether it has
     responsive documents to this request. Due to how long discovery has been ongoing, and
     Defendant Miedzianowski’s upcoming deposition, Plaintiffs asked the City to produce all
     responsive documents by July 19, 2024. See Ex. D at 14. To date, no supplemental
     production has been made nor has the City confirmed that, following a diligent
     investigation, no responsive documentation exists.

 •   Communications between Defendant Miedzianowski and Raymond Risley (Second
     Request No. 3). The City stated that it is still investigating whether it has responsive
     documents to this request. Due to how long discovery has been ongoing, and Defendant
     Miedzianowski’s upcoming deposition, Plaintiffs asked the City to produce all responsive
     documents by July 19, 2024. See Ex. D at 14. To date, no supplemental production has
     been made nor has the City confirmed that, following a diligent investigation, no
     responsive documentation exists.

 •   Documents reflecting any kind of complaint by former CPD Superintendent Phil
     Cline regarding Defendant Miedzianowski (Second Request No. 4). The City stated
     that it is still investigating whether it has responsive documents to this request. Due to
     how long discovery has been ongoing, and Defendant Miedzianowski’s upcoming

                                             10
 Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 11 of 14 PageID #:1319




       deposition, Plaintiffs asked the City to produce all responsive documents by July 19,
       2024. See Ex. D at 14-15. To date, no supplemental production has been made nor has the
       City confirmed that, following a diligent investigation, no responsive documentation
       exists.

   •   Documents related to any investigation to identify other CPD officers who
       participated, or assisted, in the criminal enterprise Defendant Miedzianowski was
       convicted of operating—specifically including, but not limited to, any such
       investigations referencing Defendants Guevara or Bemis (Second Request No. 5). The
       City stated that it is still investigating whether it has responsive documents to this
       request. Due to how long discovery has been ongoing, and Defendant Miedzianowski’s
       upcoming deposition, Plaintiffs asked the City to produce all responsive documents by
       July 19, 2024. See Ex. D at 15. To date, no supplemental production has been made nor
       has the City confirmed that, following a diligent investigation, no responsive
       documentation exists.

   •   All documents produced or exchanged by the parties in Klipfel, et al. vs. Bentsen, et
       al., 1:94-cv-06415 (N.D. Ill.), including all pleadings, documents exchanged in
       discovery, audio and video recordings, wiretap recordings, and all other forms of
       electronic media (not including attorney-client or work product privileged
       documents) (Second Request No. 6). The City stated that it has produced certain non-
       privileged documents within its possession, custody, and control and that it would follow
       up and confirm all responsive documents had been produced. Due to how long discovery
       has been ongoing, and Defendant Miedzianowski’s upcoming deposition, Plaintiffs asked
       the City to produce all responsive documents, or confirm there were no as-yet
       unproduced responsive documents, by July 19, 2024. See Ex. D at 15. To date, no
       supplemental production has been made nor has the City confirmed that, following a
       diligent investigation, no responsive documentation exists.

   •   All depositions and trial transcripts related to Klipfel, et al. vs. Bentsen, et al., 1:94-
       cv-06415 (N.D. Ill.) (Second Request No. 7). The City stated that it would follow up and
       investigate where such documents might be held in the City’s Law Department and
       would confirm whether it possessed any responsive documents. Due to how long
       discovery has been ongoing, and Defendant Miedzianowski’s upcoming deposition,
       Plaintiffs asked the City to produce all responsive documents by July 19, 2024. See Ex. D
       at 15-16. To date, no supplemental production has been made nor has the City confirmed
       that, following a diligent investigation, no responsive documentation exists.

       Of note, Defendant City committed to investigating whether it is in possession of

responsive documents in the above categories during the meet and confer—investigations that it

stated it was conducting in its respective September and November 2023 responses to Plaintiffs’

discovery requests—which is coming 12 months after Plaintiffs initially issued those requests.


                                               11
 Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 12 of 14 PageID #:1320




See generally Exs. E-F. Such a delay is inappropriate and highly prejudicial to Plaintiffs’ ability

to conduct discovery. See Novelty, Inc. v. Mountain View Mktg., Inc., 265 F.R.D. 370, 376 (S.D.

Ind. 2009), clarified on denial of reconsideration, No. 107-cv-01229SEBJMS, 2010 WL

11561280 (S.D. Ind. Jan. 29, 2010) (“Unilaterally deciding to conduct a cursory initial search to

be followed by ‘rolling’ productions from subsequent, more thorough, searches is not an

acceptable option . . . . Rule 34 guarantees that the requesting party will receive, concurrently

with the response, all documents reasonably available”); see also Lava Trading, Inc. v. Hartford

Fire Insurance Company, Case No. 03-cv-7037PKCMHD, 2005 WL 459267, *9–10 (same and

imposing sanctions); Fautek v. Montgomery Ward & Co., Inc., Case No. 78-cv-1189, 96 F.R.D.

141, 145 (N.D. Ill. 1982) (holding that if a party does not take “reasonable steps to ensure that

[its] responses for production [were] complete and accurate,” later supplementation “does not

absolve a party who has failed to produce the material in a timely fashion,” and sanctions may be

appropriate); Ritacca v. Abbott Labs., 203 F.R.D. 332, 335 (N.D. Ill. 2001) (“evidence of foot-

dragging or [of] a cavalier attitude towards following court orders and the discovery rules”

warrants strong action by the Court).

       Plaintiffs thus ask the Court to compel the City to produce the outstanding agreed-upon

documents, or alternatively, to confirm, following a diligent investigation, that no responsive

documents are in the City’s possession, custody, or control, so that Plaintiffs can proceed with

building their case and complete the remaining depositions. The City agreed to investigate and

produce the documents identified below in July 2024, one year after the requests were issued,

and its continued non-production of such materials long agreed upon, 14 months after they were

originally requested, lacks any justification. The materials have been outstanding for many

months and are critical to Plaintiffs’ ability to prove their case. The outstanding production is



                                                12
 Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 13 of 14 PageID #:1321




delaying discovery and causing undue harm to Plaintiffs. This Court should order the City to

meet its discovery obligations so that the parties can meet their Court-ordered discovery

schedule.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Honorable Court grant

Plaintiffs’ Motion to Compel and order production by Defendant City of Chicago of the

documents described herein, and any other relief this Court deems just.



                                     RESPECTFULLY SUBMITTED,

                                     JUAN HERNANDEZ & ROSENDO HERNANDEZ

                                     BY: /s/ Alyssa Martinez
                                     Attorney for Plaintiffs Hernandez

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                                               13
 Case: 1:23-cv-01737 Document #: 121 Filed: 09/06/24 Page 14 of 14 PageID #:1322




                               CERTIFICATE OF SERVICE

       I, Alyssa Martinez, an attorney, certify that on September 6, 2024, I caused the foregoing

document to be filed using the Court’s CM/ECF System which affected service upon all counsel

of record.

                                                    /s/ Alyssa Martinez
                                                    One of Plaintiffs’ Attorneys




                                               14
